              Case 5:14-cv-00044-TBR Document 1 Filed 03/19/14 Page 1 of 3 PageID #: 1



                                       UNITED STATES DISTRICT COURT
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                                                                             VANESSA L ARMSTRONG, CLERK
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                                       WESTERN DISTRICT OF KENTUCKY
                                            PADUCAH DIVISION                         MAR 1 9 2014
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                  Name of Plaintiff(s)                                                                          .
V.                                                                Civil Case No.5:      Jtj QV--lJLt~R
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Lo"..w s\r , L1e~ ~. 4oao ~
        Name of De endant(s)

                                                    COMPLAINT

1.   State the grounds for filing this case in Federal Court (include federal statutes and/or U.S.
     Constitutional provisions, if you know them):

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        h.evu~                 a         0'""\C)CS: . f:2l>v'l ge_x-'\ GS            +-o Cocrecf.L
2.   Plaintiff,
     d        OV
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                            ~ ~-pj l
                      ~\-~')1~- a_~~Erl-: ,j?6.-c\ L\..CCLb
                                                            resides at

          •       Street Address                                                   City
     rnc<c,ro.rK,LD ·n _\;J., k\@oD.,) 0\'lO 5c:Sq;-L{q(r;;U
               County                       State           Zip Code     Area Code, Phone Number

     (if more than one plaintiff, provide the same information for each plaintiff below):




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           Case 5:14-cv-00044-TBR Document 1 Filed 03/19/14 Page 2 of 3 PageID #: 2



3.   Defendant,    1\\a r :to D ·l\_\ ~U.£={)~ C \      f: ,DL--c=,, =r=oB;.k. resides at,
                                                              ou-1.+-e.-         ·      ,
     or its business is located at   a   \0 E . C1-ro-4
                                          5treet Address    ~
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                                                                                   City

     -~--'
       County
                                     K yState
                                           I          I    49~0~
                                                            Zip Code

     (if more than one defendant, provide the same information for each defendant below):

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           Case 5:14-cv-00044-TBR Document 1 Filed 03/19/14 Page 3 of 3 PageID #: 3



5.   Prayers for relief (list what you want the Court to do):

     a.   Q-, If OvvJr- Ill -c L 0 t:f<A?=-e.Jc\ 6 6 1 \ 0 C\ in r
          b-\ ~ \>.) r- Oh.3 d D \ "'-<?\ S t~Y" S?\ oe_1c:0 ~ l-'5 \ooo .a
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          C>-c..,c.a r- ct ~ r---. ~ o w hG....----+      ce...~ s \ s i?G-\ -r
     b. --------------------------------------------------------



     c.




     d. --------------------------------------------------------




6.   Request for a jury trial              ~
                                       _       Yes                  No
                                     "--L-G-   n. c. .Ce.. SC::::£l._r ~
     I (we) hereby certify under penalty that the above petition is true to the best of my (our)
     information, knowledge, and belief.

     Signed this     \   ~ay of f"c\Gr               C .b       , 20 I~    .




                   Signature of Plaintiff(s)




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